
BY THE COURT.
It is agreed that the appellant in this case within the time prescribed by law, entered into a single bill or bond of an amount more than double the judgment below. Afterwards, and before this court, the condition, now annexed to the bond, was written within a blank space left above the signature and seal. The law requires an appeal bond, conditioned as prescribed, to be executed and filed within thirty days after the judgment. No bond with such condition was filed in this case within that time. But the obligor of this bond, who is now here in court, admits that this bond shall bind him. This admission cannot affect the question. It is a compliance with the law alone that makes a valid appeal, not the agreement of parties, much less that of strangers.
The appeal is quashed, being improvidently entered.
